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                                            (Pro Se)
                                                                              FILED
 ROBERTC.GAULT,                                 ))                           sEP   -7   2ol7


                       Plaintiff,
                                                )                           u.s. couRT oF
                                                                           FEDERAL CLAIMS
                                                )
                                                )             No.l7-727C
        v.                                      )             (Filed: Seprember 7,2017)
                                                I
 THEIJNITED STATES        OFAMERICA,            )
                                                )
                       Defendant.               )




                                            ORDER

       Pro se Plaintiff Robert Gault has filed a motion for withdrawal of his complaint. Docket

No. 6' Pursuant to Rules of the court of Federal claims 4l(a)(2), Mr. Gault's motion is

GRANTED and Mr. Gault's complaint is DISMISSED without prejudice.


       IT IS SO ORDERED.

                                                         a/ry__
                                                     ELAINED. KAPLAN
                                                     Judge
